Case 1:20-cr-00023-H-BU Document 163 Filed 09/17/20 Page1of3 PagelD 312

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

ABILENE DIVISION

UNITED STATES OF AMERICA §

§

§

§ CASENO. 1:20-CR-00023-H-BU
V. §

§
TAKITYA RENEE LEE (5) §

§

§

REPORT AND RECOMMENDATION ON PLEA
BEFORE THE UNITED STATES MAGISTRATE JUDGE

This case has been referred by the United States district judge to the undersigned for the
taking of a guilty plea. The parties have consented to appear before a United States magistrate
judge for these purposes. This Report and Recommendation on Plea is submitted to the court
under 28 U.S.C. § 636(b)(3).

Under the authority granted by the Coronavirus Aid, Relief, and Economic Security Act
(CARES Act), the Chief Judge for the Northern District of Texas issued Special Order 13-9 in
which, among other things, she specifically found that felony pleas under Federal Rule of
Criminal Procedure 11 cannot be conducted in person without seriously jeopardizing public
health and safety. As a result, Special Order 13-9 authorized the use of video teleconferencing
for the taking of felony guilty pleas in particular cases in which the district judge has made a
finding that the plea cannot be further delayed without serious harm to the interests of justice.
Upon the joint motion of both parties, the district judge has made such a finding. Accordingly,
the defendant appeared via video teleconference before the undersigned United States magistrate

judge who addressed the defendant in open court and informed the defendant of, and determined
Case 1:20-cr-00023-H-BU Document 163 Filed 09/17/20 Page 2of3 PagelD 313

that the defendant understood, the admonitions contained in Rule 11 of the Federal Rules of
Criminal Procedure.
The defendant pled guilty (under a plea bargain agreement with the government) to
Count Seven of the Nineteen-count Indictment charging defendant with a violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(C) Distribution of Cocaine Base. The undersigned magistrate judge
finds the following:
1. The defendant, upon advice of counsel, has consented orally and in writing to enter
this guilty plea before a magistrate judge subject to final approval and sentencing by the
presiding district judge;

2. The defendant fully understands the nature of the charges (including each essential
element of the offense(s) charged and penalties;

3. The defendant fully understands the terms of the plea agreement and plea agreement
supplement;

4, The defendant understands all constitutional and statutory rights and wishes to waive

these rights, including the right to a trial by jury and the right to appear before a United

States district judge;

5. The defendant’s plea is made freely and voluntarily;

6. The defendant is competent to enter this plea of guilty;

7. There is a factual basis for this plea; and

8. The ends of justice are served by acceptance of the defendant’s plea of guilty.

Although I have conducted these proceedings and accepted the defendant’s plea of guilty,
the United States district judge has the power to review my actions and possesses final decision-
making authority in this proceeding. Thus, if the defendant has any objections to these findings
or any other action of the undersigned, he is required to make those known to the United States
district judge within fourteen (14) days of today.

Based on the above, I recommend that the defendant’s plea of guilty be accepted, that the

defendant be adjudged guilty, and that sentence be imposed accordingly.
Case 1:20-cr-00023-H-BU Document 163 Filed 09/17/20 Page 3of3 PagelD 314

The Clerk will furnish a copy of this Order to each of attorney of record.

Signed on: 17th day of September, 2020

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JOHN R. PARKER
UNITED STATES MAGISTRATE JUDGE
